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                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 IN RE:
                                                  Case No. 08-42854
 KENNETH HENNING                                  Chapter 7
 MICHELLE LYNETT HENNING

                              Debtors

             NOTICE TO DEPOSIT FUNDS INTO THE UNCLAIMED FUNDS
             REGISTRY OF THE UNITED STATES BANKRUPTCY COURT

       The undersigned Trustee of the above styled estate states as follows for his Notice to
Deposit Funds Into the Unclaimed Funds Registry of the United States Bankruptcy Court:

       1.     That he is the duly qualified and acting Trustee in this case.

      2.      That he filed a Final Report that was approved by this Court. Final distributions
were made.

       3.      The following check was not negotiated within the 90-day period allowed and
should be paid into the unclaimed registry of this Court:


    CHECK
     NO.                     CLAIMANT                             CLAIM NO.      AMOUNT
     1004      Kenneth & Michelle Henning, Debtors               Surplus Funds   $6,371.96

       4.     Pursuant to 11 U.S.C. §347 and Chapter 129 of Title 28, U.S.C., and FRBP 3011,
a check has been tendered to the Clerk of the United States Bankruptcy Court in the amount of
$6,371.96.

                                             Respectfully Submitted,

                                             /s/ Mark A. Weisbart
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                                             CHAPTER 7 TRUSTEE
